










Opinion issued January 20, 2005











In The
Court of Appeals
For The
First District of Texas




NO. 01–04–00708–CV




TINA HELM, Appellant

V.

DEBORAH L. DAISE, Appellee




On Appeal from the 152nd District Court
Harris County, Texas
Trial Court Cause No. 2001-45057




MEMORANDUM OPINIONAppellant Tina Helm has failed to timely file a brief.  See Tex. R. App. P.
38.8(a) (failure of appellant to file brief).  After being notified that this appeal was
subject to dismissal, appellant Tina Helm did not adequately respond.  See Tex. R.
App. P. 42.3(b) (allowing involuntary dismissal of case).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The appeal is dismissed for want of prosecution for failure to timely file a brief. 
All pending motions are denied.
PER CURIAM
Panel consists of Justices Nuchia, Jennings, and Alcala.


